   EXHIBIT A




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Ill               FORTNITE                        GET FORrnlTE     BATTLE PASS             WATCH     NEWS       FAQ       FORUMS         MERCH        HELP       EVENTS                                                                                  '   '
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                                                                                                        FORTNITE BATILE ROYALi: CODE OF CONDUCT
                                                                                                        By The Fortnite Team




                                                                                          0             When playing Fortnite Battle Royale we ask you to agree to the following code of conduct:

                                                                                          0             (TLDR: Respect other players and play fair, simple right?)

                                                                                          e              1. Respect other players. Be graceful in victory and defeat. Discriminatory language, hate speech, threats, spam, and

                                                                                          9                 other forms of harassment or illegal behavior will not be tolerated.
                                                                                                         2. Play fairly and within the rules of the game. Don't cheat, AFK, grief, exploit bugs or glitches, team up in groups
                                                                                                            larger than the game mode allows (e.g. in solo matches do not work with other players, respectfully eliminate them
                                                                                                            instead) or impersonate others.
                                                                                                         3. Keep account information safe and private. Giving access to your account puts you at risk. Do not share your
                                                                                                            account information or the account information of others.
                                                                                                         4. Good luck and have fun!

                                                                                                        If you see players not respecting the FBR code, please reach out to us in-game via the report a player button
                                                                                                        or by contacting player support. We will investigate all feedback and take action if or when necessary.

                                                                                                        The Fortnite Battle Royale Code is not final and will change over time, make sure you are checking back to
                                                                                                        stay up to date.

                                                                                                        "But, I didn't know..." is not a valid excuse, and honestly a pretty bad one. We're all here to have fun and enjoy
                                                                                                        the game!




             Battle Pass               FAQ
             Watch
             Get Fortnite




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